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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

 In re: CHANGE HEALTHCARE, INC.                          MDL No. 24-3108 (DWF/DJF)
 CUSTOMER DATA SECURITY
 BREACH LITIGATION

 This Document Relates to All Actions                    PRETRIAL ORDER NO. 19
                                                       (RE: Agenda for July 17, 2025
                                                                Status Conference)



      Pursuant to the Court’s Pretrial Order No. 2 (Doc. No. 69 ¶ 12) and consistent with

issues discussed in both the current and proposed Federal Rule of Civil Procedure 16.1

aimed at providing case-management guidance in MDLs, the Court directs the parties

place the following items on the agenda for the July 17, 2025 Status Conference:

          • compliance with the Pretrial Order No. 18 (Doc. No. 403);

          • need for additional briefing, including response and reply appendices, on
            the motions to dismiss;

          • status of Defendants’ motion to dismiss for lack of personal jurisdiction,
            and the need for discovery on personal jurisdiction;

          • jurisdictional implications of filing of new discrete cases;

          • compliance with the Court’s May 21, 2025 Order (Doc. No. 365);

          • requests for response and reply briefing to the American Society of
            Anesthesiologist’s amicus curiae brief (Doc. No. 408);

          • early discovery; and

          • coordination with state court cases.


Dated: July 14, 2025                     s/Donovan W. Frank
                                         DONOVAN W. FRANK
                                         United States District Judge
